Case 2:03-cr-20288-STA Document 118 Filed 08/30/05 Page 1 of 2 Page|D 112

FUED BY ,S:?DL;
IN THE UNITED STATES DISTRICT COURT

FOR THE wESTERN DISTRICT oF TENNESSEE ,
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* me§{?)h§qs§gh;rmm
UNITED STATES oF AMERICA, »;IF-y
* M®Oiuhewng
Plaintiff, Cr. No. O3-20288-D
vs. *
ANGELA T. BELL, *
Defendant. *
oRDER

 

It is so ordered as part of her pretrial diversion in the
manner described above, Angela T. Bell shall pay restitution in
the amount of $4,500.00. Per agreement, this amount is to be

paid to Interactive Solutions.

Dor good cause shown, it is so ORDERED this CS?§F day of

(;'\g¢?h! , 2005.

      

ORABLE ERNIC B. DONALD
ITED STATES DISTRICT JUDGE

 
  

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UNITED `sETATSDISTRIC COUR - WTERN D's'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 118 in
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Honorable Bernice Donald
US DISTRICT COURT

